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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    tiffan                                                       )
    In re:                                                       )   Chapter 11
                                                                 )
    AMERICAN PHYSICIAN PARTNERS, LLC,                            )   Case No. 23-11469 (BLS)
    et al., 1                                                    )
                                                                 )   (Joint Administration Requested)
                                     Debtors.                    )
                                                                 )   Ref. Docket Nos. 19, 20 & 22

                                    CERTIFICATE OF SERVICE

I, GEOFF ZAHM, hereby certify that:

1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. I caused to be served the:

      a. “Notice of Hearing on First Day Motions,” dated September 19, 2023 [Docket No. 19],
         (the “1st Day Hearing”),

      b. “Notice of Hearing on Motion of the Debtors Pursuant to Sections 105, 361, 362, 363,
         and 507 of the Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2 for
         Interim and Final Orders (A) Authorizing Debtors to Use Cash Collateral, (B) Granting
         Adequate Protection to Prepetition Secured Parties, (C) Modifying the Automatic Stay,
         and (D) Scheduling a Final Hearing,” dated September 19, 2023 [Docket No. 20], (the
         “DIP Hearing”), and

      c. “Notice of Agenda of First Day Matters Scheduled for Hearing on September 21, 2023
         at 9:30 a.m. (Eastern Time) Before the Honorable Brendan L. Shannon, in the U.S.
         Bankruptcy Court, 824 North Market Street, 6th Floor, Courtroom 1, Wilmington,
         Delaware 19801,” dated September 19, 2023 [Docket No. 22], (the “Agenda”),

by causing true and correct copies of the:

             i.   1st Day Hearing, DIP Hearing, and Agenda to be enclosed securely in separate
                  postage pre-paid envelopes and delivered via overnight mail to those parties listed
                  on the annexed Exhibit A on September 19th, 2023,

1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.
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      ii.   1st Day Hearing and Agenda to be enclosed securely in separate postage pre-paid
            envelopes and delivered via overnight mail to those parties listed on the annexed
            Exhibit B on September 19th, 2023,

     iii.   1st Day Hearing and Agenda to be enclosed securely in a postage pre-paid
            envelope and delivered via overnight mail to Reliance Trust Company; 1100
            Abernathy Road NE; Suite 400; Atlanta, GA 30328-5646 on September 20th, 2023,

     iv.    1st Day Hearing, DIP Hearing and Agenda to be delivered via electronic mail to
            those parties listed on the annexed Exhibit C on September 19th, 2023,

      v.    1st Day Hearing and Agenda to be delivered via electronic mail to those parties
            listed on the annexed Exhibit D on September 19th, 2023,

     vi.    1st Day Hearing, DIP Hearing and Agenda to be delivered via facsimile to those
            parties listed on the annexed Exhibit E on September 19th, 2023, and

    vii.    1st Day Hearing and Agenda to be delivered via facsimile to those parties listed on
            the annexed Exhibit F on September 19th 2023,

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                   /s/ Geoff Zahm
                                                                   Geoff Zahm
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                    EXHIBIT A
                                            American Physician Partners
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Claim Name                               Address Information
AB STAFFING SOLUTIONS                    ATTN: JEN LOGE 3451 S MERCY ROAD SUITE 102 GILBERT AZ 85297
ALTER DOMUS (US) LLC                     DIP AGENT ATTENTION: LEGAL DEPARTMENT AGENCY, EMILY ERGANG PAPPAS AND ANDREW
                                         TALPA 225 WEST WASHINGTON STREET, 9TH FLOOR CHICAGO IL 60606
ATLAS PHYSICIANS, LLC                    ATTN: ANTHONY RUVO 122 JACKSON STREET SUITE 1A HOBOKEN NJ 07030-6084
BDO CONSULTING GROUP, LLC                ATTN: BAKER SMITH 1180 PEACHTREE STREET SUITE 1950 ATLANTA GA 30309
BRENTWOOD CAPITAL                        ATTN: L.A. GALYON IV 5000 MERIDIAN BLVD SUITE 350 FRANKLIN TN 37067
COMPHEALTH / WEATHERBY LOCUMS, INC.      ATTN: ANGELA BROWN PO BOX 972651 DALLAS TX 75397-2651
DENNIS DERUELL                           ADDRESS ON FILE
ELEVATE HEALTHCARE CONSULTANTS           ATTN: EVAN HALE 3811 TURTLE CREEK BLVD SUITE 850 DALLAS TX 75219
FRANCISCAN PHYSICIANS NETWORK            ATTN: JOE STUTEVILLE 38005 EAGLE WAY CHICAGO IL 60678-1800
GOLDMAN SACHS SPECIALTY LENDING GROUP    2001 ROSS AVE., SUITE 2800 DALLAS TX 75201
L.P.
GOLDMAN SACHS SPECIALTY LENDING GROUP,   6011 CONNECTION DRIVE IRVING TX 75039
L.P.
HEALTH CAROUSEL LLC                      ATTN: SHAWNA LEFTWICH PO BOX 715806 CINCINNATI OH 45271-5806
HOLLAND & KNIGHT                         ATTN: VINH DUONG PO BOX 936937 ATLANTA GA 31193-6937
HOLLAND & KNIGHT                         COUNSEL TO DIP AGENT ALTER DOMUS & PREPETITION AGENT ATTN: DANIEL SYLVESTER
                                         150 N. RIVERSIDE PLAZA, SUITE 2700 CHICAGO IL 60606
INTERIM PHYSICIANS                       ATTN: TIM SARLONE PO BOX 679139 DALLAS TX 75267
JEFFERIES                                ATTN: JEFFREY FINGER 520 MADISON AVENUE, 6TH FLR. NEW YORK NY 10022
KING & SPALDING LLP                      COUNSEL FOR THE FORMER PREPETITION AGENT GOLDMAN SACHS SPECIALTY LENDING
                                         GROUP, L.P. ATTN: W. AUSTIN JOWERS 1180 PEACHTREE STREET, NE, SUITE 1600
                                         ATLANTA GA 30309
LEXX HEALTHCARE, LLC                     ATTN: ANTONNY AGUDELO 210 N UNIVERSITY DRIVE SUITE 502 CORAL SPRINGS FL 33071
LOCUMTENENS.COM                          ATTN: KIMBERLY LACKEY PO BOX 405547 ATLANTA GA 30384
MARLAB INCORPORATED                      ATTN: BALRAM BHANDARI 23434 NORTH 78TH STREET SCOTTSDALE AZ 85255
MEDICI GROUP PLLC                        ATTN: CARLOS ECHEVARRIA 11 OVERLOOK RIDGE DRIVE #426 REVERE MA 02151
MINGLE HEALTHCARE SOLUTIONS              ATTN: ALYSSA ROYER 8911 S SANDY PARKWAY SUITE 200 SANDY UT 84070
OFFICE OF THE UNITED STATES ATTORNEY     DISTRICT OF DELAWARE HERCULES BUILDING 1313 N MARKET ST, STE 400 WILMINGTON DE
                                         19801
OFFICE OF THE UNITED STATES TRUSTEE      J CALEB BOGGS FEDERAL BUILING 844 KING STREET, SUITE 2207 WILMINGTON DE 19801
PROSCRIBE                                ATTN: SAMANTHA CHACON 16414 SAN PEDRO AVE SUITE 525 SAN ANTONIO TX 78232
PROSKAUER ROSE LLP                       COUNSEL FOR AB FUNDS/PREPETITION LENDERS) ATTN: JOSEPH BRETSCHNEIDER ELEVEN
                                         TIMES SQUARE NEW YORK NY 10036-8299
QGENDA,LLC                               ATTN: STEVE RZASNICKI 3280 PEACHTREE ROAD NE SUITE 1400 ATLANTA GA 30305
R1 MEDICAL CONSULTANTS INC.              ATTN: JACKIE WILLETT PO BOX 735160 DALLAS TX 75373-5160
RICHARDS, LAYTON & FINGER, P.A.,         COUNSEL FOR DIP LENDER ATTN: ZACHARY I. SHAPIRO, ESQ. ONE RODNEY SQUARE, 920
                                         NORTH KING STREET WILMINGTON DE 19801
SAPIENTES FUNDING II                     ATTN: TYLER MARSH 830 EAST PLATTE AVE FORT MORGAN CO 80701
SCRIBE AMERICA                           ATTN: MICHAEL WELCH PO BOX 417756 BOSTON MA 02241-7756
SHI INTERNATIONAL CORP                   ATTN: RYAN WAHL PO BOX 952121 DALLAS TX 75395-2121
SIGNIFY HEALTH                           ATTN: GREGORY MCLERNON 4055 VALLEY VIEW LN STE 700 DALLAS TX 75244
STAFF CARE, INC.                         ATTN: DON ROBB PO BOX 281923 ATLANTA GA 30384-1923
SUMO MEDICAL STAFFING                    ATTN: JEFF PARKER 71 E WADSWORTH PARK DR DRAPER UT 84020
UKG INC.                                 ATTN: SUSAN BROWN PO BOX 930953 ATLANTA GA 31193-0953
WALLER LANSDEN DORTCH & DAVIS, LLP       ATTN: VINH DUONG PO BOX 415000 NASHVILLE TN 37241
WEIL, GOTSHAL & MANGES LLP               COUNSEL FOR DIP LENDER ATTN: DAVID N. GRIFFITHS, ESQ. & F. GAVIN ANDREWS, ESQ.
                                         767 FIFTH AVENUE NEW YORK NY 10153
WILLIS TOWERS WATSON SOUTHEAST, INC.     ATTN: JAMES O'DELL 29982 NETWORK PLACE CHICAGO IL 60673-1299
WMU SCHOOL OF MEDICINE                   ATTN: AMY SMITCHOLS PO BOX 50391 KALAMAZOO MI 49005-0391




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Claim Name              Address Information



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Claim Name                              Address Information
BANK OF AMERICA                         BRETT POWELL P.O. BOX 25118 TAMPA FL 33622-5118
CADENCE BANK                            KACY OWSLEY 201 S SPRING ST TUPELO MS 38804
FIFTH THIRD BANK                        JASON CAPE P.O. BOX 630900 CINCINNATI OH 45263-0900
FROST BANK                              KRISTEN SMITH P.O. BOX 1315 HOUSTON TX 77251
LEGENDS BANK                            TIFFANY HIGHTOWER P.O. BOX 1066 CLARKSVILLE TN 37041-1066
ROBERT A BLOCH, MANAGING GROUP          EVP; C/O FLAGSTAR BANK N.A. 1400 BROADWAY - 26TH FLOOR NEW YORK NY 10018
DIRECTOR/
TX BANK & TRUST                         ASHLEY HERNANDEZ P.O. BOX 3188 LONGVIEW TX 75606
US BANK                                 JENNIFER WOZNICKI PO BOX 70870 ST. PAUL MN 55170
WELLS FARGO                             JACKIE THOMAS PO BOX 63020 SAN FRANCISCO CA 94163




                                 Total Creditor count 9




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Claim Name                               Address Information
GOLDMAN SACHS SPECIALTY LENDING          GROUP, L.P., AS ADMINISTRATIVE AGENT AND COLLATERAL AGENT 6011 CONNECTION
                                         DRIVE IRVING TX 75039
GOLDMAN SACHS SPECIALTY LENDING GROUP    L.P., AS ADMINISTRATIVE AGENT AND AS COLLATERAL AGENT 2001 ROSS AVE., SUITE
                                         2800 DALLAS TX 75201
PENDRICK CAPITAL PARTNERS, LLC           2331 MILL ROAD, SUITE 510 ALEXANDRIA VA 22314
WEBBANK                                  215 SOUTH STATE STREET, SUITE 1000 SALT LAKE CITY UT 84111




                                  Total Creditor count 4




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Claim Name                               Address Information
ALABAMA DEPT OF REVENUE                  50 N RIPLEY ST MONTGOMERY AL 36130
CITY OF ANNISTON ATTN: FINANCE DEPT      PO BOX 2168 ANNISTON AL 36202
CITY OF ANNISTON ATTN: FINANCE DEPT      4305 MCCLELLAN BLVD ANNISTON AL 36206
CITY OF CADIZ                            63 MAIN STREET, PO BOX 1645 CADIZ KY 42211
CITY OF CARSLBAD PLANNING, ENGINEERING, AND REGULATION DEPARTMENT 114 S. HALAGUENO STREET, PO BOX 1569 CARLSBAD NM
                                        88220
CITY OF GADSDEN REVENUE DEPARTMENT       90 BROAD ST GADSDEN AL 35901
CITY OF GADSDEN REVENUE DEPARTMENT       PO BOX 267 GADSDEN AL 35902-0267
CITY OF GALLUP CITY CLERK'S OFFICE       110 WEST AZTEC, PO BOX 1270 GALLUP NM 87305
CITY OF HOPKINSVILLE                     MUNICIPAL BUILDING 715 S VIRGINIA ST HOPKINSVILLE KY 42240
CITY OF HOPKINSVILLE                     PO BOX 707 HOPKINSVILLE KY 42241-0707
CITY OF ROSWELL                          421 N RICHARDSON PO BOX DRAWER 1838 ROSWELL NM 88202-1838
CITY OF TUCSON COLLECTIONS SECTION       255 W. ALAMEDA TUCSON AZ 85701
CITY OF TUCSON COLLECTIONS SECTION       PO BOX 27320 TUCSON AZ 85726-7320
KALAMAZOO TOWNSHIP                       ATTN: SHERINE M. MILLER, TREASURER 1720 RIVERVIEW DR KALAMAZOO MI 49004
MISSISSIPPI DEPARTMENT OF REVENUE        500 CLINTON CENTER DR CLINTON MS 39056
NEW MEXICO TAXATION AND REVENUE          1200 S ST FRANCIS DR, PO BOX 630 SANTA FE NM 87504-0630
NORTH CAROLINA DEPT OF REVENUE           501 N WILMINGTON ST RALEIGH NC 27604
OKLAHOMA TAX COMMISSION                  2501 N LINCOLN BLVD OKLAHOMA CITY OK 73194
STATE OF ARIZONA, DEPT OF REVENUE        1600 W MONROE ST PHOENIX AZ 85007
STATE OF ARKANSAS, DEPT OF FINANCE       AND ADMINISTRATION 1900 W 7TH ST, RM 1040 LITTLE ROCK AR 72201
STATE OF DELAWARE, DIVISION OF REVENUE   GEORGETOWN OFFICE, 20653 DUPONT BLVD, STE 2 GEORGETOWN DE 19947
STATE OF FLORIDA, DEPT OF REVENUE        5050 W TENNESEE ST TALLAHASSEE FL 32399
STATE OF GEORGIA, DEPT OF REVENUE        1800 CENTURY BLVD, NE, STE 12000 ATLANTA GA 30345
STATE OF ILLINOIS, DEPT OF REVENUE       555 E MONROE ST, STE 1100 CHICAGO IL 60661
STATE OF INDIANA, DEPT OF REVENUE        100 N SENATE AVE, RM N105 INDIANAPOLIS IN 46204
STATE OF KENTUCKY, DEPT OF REVENUE       501 HIGH ST FRANKFORT KY 40601
STATE OF MICHIGAN, DEPT OF REVENUE       430 W ALLEGAN ST LANSING MI 48933
STATE OF NEVADA, DEPT OF REVENUE         1550 COLLEGE PKWY, STE 115 CARSON CITY NV 89706
STATE OF OHIO, DEPT OF REVENUE           4485 NORTHLAND RIDGE BLVD COLUMBUS OH 43229
STATE OF SOUTH CAROLINA, DEPT OF         300A OUTLET POINTE BLVD COLUMBIA SC 29210
REVENUE
STATE OF VIRGINIA, DEPT OF REVENUE       1957 WESTMORELAND ST RICHMOND VA 23230
TENNESSEE DEPT OF REVENUE                500 DEADERICK ST NASHVILLE TN 37242
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS     LYNDON B JOHNSON STATE OFFICE BLDG 111 E 17TH ST AUSTIN TX 78774
WATERFORD TOWNSHIP TREASURER             5200 CIVIC CENTER DRIVE WATERFORD MI 48329
WILLIAMSON COUNTY TRUSTEE                1320 W MAIN ST #203 FRANKLIN TN 37064
WILLIAMSON COUNTY TRUSTEE                PO BOX 648 FRANKLIN TN 37065-0648




                                  Total Creditor count 36




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Claim Name                               Address Information
AFCO                                     PO BOX 4795 CAROL STREAM IL 60197-4795
BANKDIRECT CAPITAL FINANCE               PO BOX 660448 DALLAS TX 75266-0448
CAC SPECIALTY                            115 OFFICE PARK DRIVE BIRMINGHAM AL 35223
CAPITOL INDEMNITY CORPORATION            CAPSPECIALTY 1600 ASPEN COMMONS SUITE 300 MIDDLETON WI 53562
COALITION INSURANCE SOLUTIONS            (COALITION) 55 2ND ST. SUITE 2500 SAN FRANCISCO CA 94105
COVERYS - PROSELECT INSURANCE COMPANY    ONE FINANCIAL CENTER 675 ATLANTIC AVENUE BOSTON MA 02111
ENDURANCE AMERICAN SPECIALTY INSURANCE   CO. (SOMPO) 161 WASHINGTON STREET SUITE 1600 CONSHOHOCKEN PA 19428
EVANSTON INSURANCE CO. (MARKEL)          10275 WEST HIGGINS ROAD SUITE 750 ROSEMONT IL 60018
FEDERAL INSURANCE CO. (CHUBB)            CAPITAL CENTER 251 NORTH ILLINOIS, SUITE 1100 INDIANAPOLIS IN 46204-1927
FIREMAN'S FUND INSURANCE CO. (ALLIANZ)   225 W. WASHINGTON STREET SUITE 1800 CHICAGO IL 60606-3484
FREEDOM SPECIALTY INSURANCE CO.          (NATIONWIDE) 18700 NORTH HAYDEN ROAD SCOTTSDALE AZ 85255
GEMINI INSURANCE COMPANY (BERKLEY)       757 THIRD AVENUE 10TH FLOOR NEW YORK NY 10017
HOUSTON CASUALTY CO. (TOKIO MARINE)      13403 NORTHWEST FREEWAY HOUSTON TX 77040
MAGMUTUAL INSURANCE CO.                  3535 PIEDMONT ROAD N.E. BUILDING 14 - SUITE 1000 ATLANTA GA 30305-1518
MARSH USA INC                            1166 AVENUE OF THE AMERICAS NEW YORK NY 10036
MCLAREN INSURANCE COMPANY, LTD           P.O. BOX 1051, 23 LIME TREE BAY, GOVERNORS SQUARE BUILDING 4, 2ND FLOOR GRAND
                                         CAYMAN KY1-1102 CAYMAN ISLANDS
MCLAREN INSURANCE COMPANY, LTD           5555 TRIANGLE PARKWAY SUITE 200 NORCROSS GA 30092
NATIONWIDE LIFE INSURANCE COMPANY        ONE NATIONWIDE PLAZA COLUMBUS OH 43215-2220
OHIO BUREAU OF WORKERS' COMPENSATION     30 W. SPRING STREET COLUMBUS OH 43215-2256
PELEUS INSURANCE CO. (ARGO)              8720 STONY POINT PARKWAY SUITE 400 RICHMOND VA 23235
PELEUS INSURANCE CO. (ARGO)              P.O. BOX 469011 SAN ANTONIO TX 78246
PLATTE RIVER INSURANCE COMPANY           CAPSPECIALTY 1600 ASPEN COMMONS SUITE 300 MIDDLETON WI 53562
PROFESSIONAL SECURITY INSURANCE CO.      (MAGMUTUAL) 3535 PIEDMONT ROAD N.E. BUILDING 14 - SUITE 1000 ATLANTA GA
                                         30305-1518
SCOTTSDALE INSURANCE CO. (NATIONWIDE)    18700 NORTH HAYDEN ROAD SCOTTSDALE AZ 85255
STATE OF WASHINGTON DEPT OF LABOR        & INDUSTRIES 7273 LINDERSON WAY SW TUMWATER WA 98501-5414
SYMETRA LIFE INSURANCE CO.               PO BOX 34690 SEATTLE WA 98124-1690
WILLIS TOWERS WATSON SOUTHEAST, INC.     29982 NETWORK PLACE CHICAGO IL 60673-1299
ZURICH AMERICAN INSURANCE CO.            1299 ZURICH WAY SCHAUMBURG IL 60196-1056




                                  Total Creditor count 28




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Claim Name                           Address Information
BACON JR, DAVID F                    ADDRESS ON FILE
BLUE, JAMES                          ADDRESS ON FILE
BRAEGGER, BRYAN                      ADDRESS ON FILE
BRININGSTOOL, ANTHONY                ADDRESS ON FILE
CLEMMONS, SAMUEL                     ADDRESS ON FILE
DERUELLE, DENNIS                     ADDRESS ON FILE
KIDD, AARON                          ADDRESS ON FILE
KRAUSE, JOHN                         ADDRESS ON FILE
LUNN, STEPHEN                        ADDRESS ON FILE
MCQUEEN, ANDREW                      ADDRESS ON FILE
MELSON, DAN                          ADDRESS ON FILE
NAKHLA, SHADI                        ADDRESS ON FILE
NEWPORT, BOB                         ADDRESS ON FILE
RELIANCE TRUST COMPANY               PO BOX 5396 ATTN: RSG FEES CAROL STREAM IL 60197-5396
ROSS, BENJAMIN                       ADDRESS ON FILE
RUTLEDGE, JOHN                       ADDRESS ON FILE
SOMERBY, CHARLES                     ADDRESS ON FILE
STEWART, STEPHANIE                   ADDRESS ON FILE
WILLIAMS, NATHAN                     ADDRESS ON FILE
WINEGAR, WINFIELD                    ADDRESS ON FILE
YOUNG, TRACY                         ADDRESS ON FILE
YOUREE, BENJAMIN                     ADDRESS ON FILE




                              Total Creditor count 22




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Claim Name                              Address Information
BLUECROSS BLUESHIELD OF MICHIGAN       PO BOX 674416 DETROIT MI 48267-4416
BLUECROSS BLUESHIELD OF TENNESSEE      CLAIM RECEIPTS DEPARTMENT 1 CAMERON HILL CIRCLE CHATTANOOGA TN 37402
BLUECROSS BLUESHIELD OF TENNESSEE      GROUPS RECEIPTS DEPARTMENT PO BOX 6539 CAROL STREAM IL 60197-6539
MAGMUTUAL INSURANCE CO.                3535 PIEDMONT ROAD N.E. BUILDING 14 - SUITE 1000 ATLANTA GA 30305-1518
METLIFE INSURANCE COMPANY              ATTN: MORA, OMI 1095 AVENUE OF THE AMERICAS, 13TH FLOOR NEW YORK NY 10036
OHIO BUREAU OF WORKERS' COMPENSATION   30 W. SPRING STREET COLUMBUS OH 43215-2256
OHIO BUREAU OF WORKERS' COMPENSATION   P.O. BOX 89492 CLEVELAND OH 44101-6492
PAYCOM PAYROLL LLC                     7501 W MEMORIAL RD OKLAHOMA CITY OK 73142
STATE OF WASHINGTON DEPT OF LABOR      & INDUSTRIES 7273 LINDERSON WAY SW TUMWATER WA 98501-5414
THE LINCOLN NATIONAL LIFE INSURANCE    COMPANY 1301 HARRISON STREET FORT WAYNE IN 46802
THE LINCOLN NATIONAL LIFE INSURANCE CO. GROUP PROTECTION PO BOX 2658 CAROL STREAM IL 60132-2658
WEX HEALTH, INC                        P.O. BOX 9528 FARGO ND 58106




                               Total Creditor count 12




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Claim Name                         Address Information
AT&T                               AT&T LAW GROUP ATTN KAREN CAVAGNARO ONE AT&T WAY BEDMINSTER NJ 07921
AT&T                               PO BOX 5019 CAROL STREAM IL 60197-5019
AT&T MOBILITY                      ATTN KAREN CAVAGNARO ONE AT&T WAY BEDMINSTER NJ 07921
AT&T MOBILITY                      AT&T LAW GROUP ATTN KAREN CAVAGNARO ONE AT&T WAY BEDMINSTER NJ 07921
COMCAST BUSINESS                   41112 CONCEPT DR PLYMOUTH MI 48170-4253
COMCAST BUSINESS                   2605 CIRCLE 75 PWKY SE ATLANTA GA 30339-4268
CONCORD TECHNOLOGIES               2025 1ST AVE SUITE 800 SEATTLE WA 98121
CONCORD TECHNOLOGIES               PO BOX 84125 SEATTLE WA 98124-5425




                            Total Creditor count 8




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Claim Name                       Address Information
R1 RCM HOLDCO INC.               ATTN: CEO, GENERAL COUNSEL 433 WEST ASCENSION WAY 2ND FLOOR MURRAY UT
                                 84123-2790




                          Total Creditor count 1




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                               AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1
                                         Case No. 23-11469
                                      Overnight Mail Recipient

King & Spalding LLP
Attn: Lindsey Henrikson
110 N. Wacker Dr, Suite 3800
Chicago, IL 60606




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                    EXHIBIT C
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            AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                             Core/Top 30 Email Service List
Creditor Name                                          Email Address
                                                       legal_agency@alterdomus.com;
                                                       emily.ergangpappas@alterdomus.com;
ALTER DOMUS (US) LLC                                   andrew.tlapa@alterdomus.com
                                                       daniel.sylvester@hklaw.com;
HOLLAND & KNIGHT                                       phillip.nelson@hklaw.com
KING & SPALDING LLP                                    ajowers@kslaw.com
                                                       usade.ecfbankruptcy@usdoj.gov;
OFFICE OF THE UNITED STATES ATTORNEY                   ellen.slights@usdoj.gov
                                                       joseph.cudia@usdoj.gov;
OFFICE OF THE UNITED STATES TRUSTEE                    richard.schepacarter@usdoj.gov
PROSKAUER ROSE LLP                                     jbretschneider@proskauer.com
RICHARDS, LAYTON & FINGER, P.A.,                       shapiro@rlf.com
                                                       david.griffiths@weil.com;
WEIL, GOTSHAL & MANGES LLP                             f.gavin.andrews@weil.com
R1 MEDICAL CONSULTANTS INC.                            jwillett@r1rcm.com
JEFFERIES                                              jfinger@jefferies.com
SAPIENTES FUNDING II                                   tyler.marsh@wakeassoc.com
STAFF CARE, INC.                                       don.robb@amnhealthcare.com
COMPHEALTH / WEATHERBY LOCUMS, INC.                    angela.brown@chghealthcare.com
WILLIS TOWERS WATSON SOUTHEAST, INC.                   james.odell@wtwco.com
SCRIBE AMERICA                                         michael.welch@scribeamerica.com
LOCUMTENENS.COM                                        kimberly.lackey@locumtenens.com
HEALTH CAROUSEL LLC                                    shawna.leftwich@healthcarousel.com
SIGNIFY HEALTH                                         gmclernon@signifyhealth.com
BRENTWOOD CAPITAL                                      lagalyon@brentwoodcapital.com
DENNIS DERUELL                                         ADDRESS ON FILE
AB STAFFING SOLUTIONS                                  jloge@abstaffing.com
INTERIM PHYSICIANS                                     tim.sarlone@interimphysicians.com
QGENDA,LLC                                             steve.rzasnicki@qgenda.com
PROSCRIBE                                              ar@proscribemd.com
FRANCISCAN PHYSICIANS NETWORK                          joe.stuteville@franciscanalliance.org
SHI INTERNATIONAL CORP                                 ryan_wahl@shi.com
WMU SCHOOL OF MEDICINE                                 amy.smitchols@wmed.edu
ATLAS PHYSICIANS, LLC                                  a.ruvo@atlasemergencyphysicians.com
ELEVATE HEALTHCARE CONSULTANTS                         evan.hale@elevatehcc.com
BDO CONSULTING GROUP, LLC                              bsmith@bdo-ba.com
LEXX HEALTHCARE, LLC                                   antonny.agudelo@lexxhealth.com
UKG INC.                                               susan.e.brown@ukg.com
HOLLAND & KNIGHT                                       vinh.duong@hklaw.com
WALLER LANSDEN DORTCH & DAVIS, LLP                     vinh.duong@wallerlaw.com
MARLAB INCORPORATED                                    balram@gomarlab.com
SUMO MEDICAL STAFFING                                  jeff.parker@sumostaffing.com
MEDICI GROUP PLLC                                      carlechmd@outlook.com
MINGLE HEALTHCARE SOLUTIONS                            alyssa.royer@minglehealth.com
GOLDMAN SACHS SPECIALTY LENDING GROUP LP               gs-slg-notices@gs.com
RICHARDS, LAYTON & FINGER, P.A.,                       knight@rlf.com; javorsky@rlf.com
KING & SPALDING LLP                                    lhenrikson@kslaw.com



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 AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                    Banks Email Service List
Creditor Name               Email Address
BANK OF AMERICA             brett.powell@bofa.com
CADENCE BANK                kacy.owsley@cadencebank.com
FIFTH THIRD BANK            jason.cape@53.com
                            privateclientgroup-bloch-
FLAGSTAR BANK               monigan161@signatureny.com
FROST BANK                  kristen.smith@frostbank.com
LEGENDS BANK                thightower@legendsbank.com
TX BANK & TRUST             anhernandez@texasbankandtrust.com
US BANK                     jennifer.woznicki@usbank.com
WELLS FARGO                 jacquelyn.m.thomas@wellsfargo.com




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AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                Additional Email Service Parties
                      Email Address
                      knight@rlf.com
                      javorsky@rlf.com
                      lhenrikson@kslaw.com




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 AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                 Lienholders Email Service Party
Creditor Name                                  Email Address
GOLDMAN SACHS SPECIALTY LENDING GROUP
L.P., AS ADMINISTRATIVE                        gs-slg-notices@gs.com




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              AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                                  Tax Email Service List
Creditor Name                                           Email Address
ALABAMA DEPT OF REVENUE                                 sarah.harwell@revenue.alabama.gov
CITY OF ANNISTON ATTN: FINANCE DEPARTMENT               jleonard@annistonal.gov
CITY OF CADIZ                                           callen@cityofcadiz.com
CITY OF CARSLBAD PLANNING, ENGINEERING, AND
REGULATION DEPARTMENT                                   jepatterson@cityofcarlsbadnm.com
CITY OF GADSDEN REVENUE DEPARTMENT                      lcopeland@cityofgadsden.com
CITY OF GALLUP CITY CLERK'S OFFICE                      aabeita@gallupnm.gov
CITY OF HOPKINSVILLE                                    kosteen@h-ky.us
CITY OF ROSWELL                                         info@roswell-nm.gov
CITY OF TUCSON COLLECTIONS SECTION                      citymanager@tucsonaz.gov
KALAMAZOO TOWNSHIP                                      treasurer@ktwp.org
MISSISSIPPI DEPARTMENT OF REVENUE                       bankruptcy@dor.ms.gov
NEW MEXICO TAXATION AND REVENUE                         Lisa.Ela@state.nm.us
NORTH CAROLINA DEPT OF REVENUE                          Tabatha.Priest@ncdor.gov
OKLAHOMA TAX COMMISSION                                 bankruptcy@tax.ok.gov
STATE OF ARIZONA, DEPT OF REVENUE                       bankruptcyunit@azag.gov; laveritt@azdor.gov
STATE OF ARKANSAS, DEPT OF FINANCE AND
ADMINISTRATION                                          michelle.baker@dfa.arkansas.gov
STATE OF DELAWARE, DIVISION OF REVENUE                  Jamie.Johnstone@delaware.gov
                                                        fred.rudzik@floridarevenue.com;
STATE OF FLORIDA, DEPT OF REVENUE                       FDOR_bankruptcy@floridarevenue.com
STATE OF GEORGIA, DEPT OF REVENUE                       bankruptcy.notices@dor.ga.gov
STATE OF ILLINOIS, DEPT OF REVENUE                      REV.bankruptcy@illinois.gov
STATE OF INDIANA, DEPT OF REVENUE                       swilliams1@dor.IN.gov
STATE OF KENTUCKY, DEPT OF REVENUE                      JenniferL.Howard@ky.gov
STATE OF MICHIGAN, DEPT OF REVENUE                      millerj51@michigan.gov
STATE OF NEVADA, DEPT OF REVENUE                        tax-bankruptcy@tax.state.nv.us
                                                        bankruptcydivision@tax.state.oh.us;
STATE OF OHIO, DEPT OF REVENUE                          shelly.todd@tax.state.oh.us
STATE OF SOUTH CAROLINA, DEPT OF REVENUE                bankruptcyclaims@dor.sc.gov
STATE OF VIRGINIA, DEPT OF REVENUE                      bankruptcy@taxva.com

TENNESSEE DEPT OF REVENUE                               TDOR.bankruptcy@tn.gov; sherry.grubbs@tn.gov
                                                        bankruptcytax@oag.texas.gov;
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                    bankruptcysection@cpa.texas.gov
WATERFORD TOWNSHIP TREASURER                            sthomas@waterfordmi.gov
WILLIAMSON COUNTY TRUSTEE                               donna.ryan@williamsoncounty-tn.gov




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             AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                              Insurance Email Service List
Creditor Name                                                    Email Address
WILLIS TOWERS WATSON SOUTHEAST, INC.                             luke.murley@saul.com
CAC SPECIALTY                                                    cirwin@cobbsallen.com
MAGMUTUAL INSURANCE CO.                                          service@magmutual.com
ENDURANCE AMERICAN SPECIALTY INSURANCE CO. (SOMPO)               insuranceclaims@sompo-intl.com
ZURICH AMERICAN INSURANCE CO.                                    jessica.melesio@zurichna.com
HOUSTON CASUALTY CO. (TOKIO MARINE)                              ltjioe@hyperionbrookfield.com
SCOTTSDALE INSURANCE CO. (NATIONWIDE)                            madina.depauw@nationwide.com
COALITION INSURANCE SOLUTIONS (COALITION)                        joshua.motta@coalitioninc.com
EVANSTON INSURANCE CO. (MARKEL)                                  markelclaims@markelcorp.com
PELEUS INSURANCE CO. (ARGO)                                      lauren@argopartners.net
FEDERAL INSURANCE CO. (CHUBB)                                    adrienne.logan@chubb.com
MAGMUTUAL INSURANCE CO.                                          service@magmutual.com
FIREMAN'S FUND INSURANCE CO. (ALLIANZ)                           cg20@ntrs.com
MAGMUTUAL INSURANCE CO.                                          service@magmutual.com
PROFESSIONAL SECURITY INSURANCE CO. (MAGMUTUAL)                  service@magmutual.com
OHIO BUREAU OF WORKERS' COMPENSATION                             jill.w.1@bwc.state.oh.us
STATE OF WASHINGTON DEPT OF LABOR & INDUSTRIES                   PHL@Lni.wa.gov
MCLAREN INSURANCE COMPANY, LTD                                   claimcare@mclarens.com
COVERYS - PROSELECT INSURANCE COMPANY                            claimlossinfo@coverys.com
                                                                 claims@capspecialty.com;
CAPITOL INDEMNITY CORPORATION                                    bondclaims@capspecialty.com
PLATTE RIVER INSURANCE COMPANY                                   jsmith@jomaxrecovery.com
                                                                 lawrence.lehan@mmc.com;
MARSH USA INC                                                    matt.osterberg@mmc.com
MCLAREN INSURANCE COMPANY, LTD                                   claimcare@mclarens.com
PELEUS INSURANCE CO. (ARGO)                                      lauren@argopartners.net
SYMETRA LIFE INSURANCE CO.                                       lifaic@symetra.com




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AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                 Rabbi Trust Email Service List
          Creditor Name                  Email Address
  BLUE, JAMES                     EMAIL ADDRESS ON FILE
  BRAEGGER, BRYAN                 EMAIL ADDRESS ON FILE
  BRININGSTOOL, ANTHONY           EMAIL ADDRESS ON FILE
  DERUELLE, DENNIS                EMAIL ADDRESS ON FILE
  KRAUSE, JOHN                    EMAIL ADDRESS ON FILE
  LUNN, STEPHEN                   EMAIL ADDRESS ON FILE
  MELSON, DAN                     EMAIL ADDRESS ON FILE
  NAKHLA, SHADI                   EMAIL ADDRESS ON FILE
  ROSS, BENJAMIN                  EMAIL ADDRESS ON FILE
  STEWART, STEPHANIE              EMAIL ADDRESS ON FILE
  YOUNG, TRACY                    EMAIL ADDRESS ON FILE
  YOUREE, BENJAMIN                EMAIL ADDRESS ON FILE




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        AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                          Benefits Email Service List
Creditor Name                                                Email Address
MAGMUTUAL INSURANCE CO.                                      service@magmutual.com
OHIO BUREAU OF WORKERS' COMPENSATION                         jill.w.1@bwc.state.oh.us
STATE OF WASHINGTON DEPT OF LABOR & INDUSTRIES               phl@lni.wa.gov




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AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
              Critical Vendors Email Service Party
            Creditor Name                 Email Address
            R1 RCM Holdco Inc.            legal@r1rcm.com




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AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                 Core/Top30 Fax Service List
 Creditor Name                                      Fax
 HOLLAND & KNIGHT                                   312.578.6666
 OFFICE OF THE UNITED STATES ATTORNEY               302-573-6220
 OFFICE OF THE UNITED STATES TRUSTEE                302-573-6497
 PROSKAUER ROSE LLP                                 212.969.2900




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AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                 Lienholders Fax Service Party
               Creditor Name             Fax
               WEBBANK                   (801) 993-5015




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AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                    Tax Fax Service List
Creditor Name                                         Fax
ALABAMA DEPT OF REVENUE                               334-242-8916
CITY OF ANNISTON ATTN: FINANCE DEPARTMENT             256-231-7639
CITY OF CADIZ                                         270-522-0025
CITY OF CARSLBAD PLANNING, ENGINEERING, AND
REGULATION DEPARTMENT                                 575-628-8379
CITY OF GADSDEN REVENUE DEPARTMENT                    256-549-4561
CITY OF GALLUP CITY CLERK'S OFFICE                    505-722-5132
CITY OF HOPKINSVILLE                                  270-632-2055
CITY OF ROSWELL                                       575-624-6780
CITY OF TUCSON COLLECTIONS SECTION                    520-791-4017
KALAMAZOO TOWNSHIP                                    269-383-8905
NEW MEXICO TAXATION AND REVENUE                       505-222-6681
NORTH CAROLINA DEPT OF REVENUE                        919-250-7898
STATE OF ARIZONA, DEPT OF REVENUE                     602-542-4771
STATE OF ARKANSAS, DEPT OF FINANCE AND
ADMINISTRATION                                        501-682-7599
STATE OF DELAWARE, DIVISION OF REVENUE                302-577-8202
STATE OF FLORIDA, DEPT OF REVENUE                     850-245-5990
STATE OF ILLINOIS, DEPT OF REVENUE                    217-782-9932
STATE OF INDIANA, DEPT OF REVENUE                     317-232-2343
STATE OF KENTUCKY, DEPT OF REVENUE                    502-564-8946
STATE OF NEVADA, DEPT OF REVENUE                      775-684-2020
STATE OF OHIO, DEPT OF REVENUE                        614-995-0164
STATE OF SOUTH CAROLINA, DEPT OF REVENUE              803-896-0171
STATE OF VIRGINIA, DEPT OF REVENUE                    804-254-6113
TENNESSEE DEPT OF REVENUE                             615-741-1731
WILLIAMSON COUNTY TRUSTEE                             615-790-5463




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     AMERICAN PHYSICIAN PARTNERS, LLC, et al . - Case No. 23-11469 (BLS)
                       Insurance Fax Service List
Creditor Name                                                   Fax
MAGMUTUAL INSURANCE CO.                                         404-842-9556
SCOTTSDALE INSURANCE CO. (NATIONWIDE)                           480-483-6752
EVANSTON INSURANCE CO. (MARKEL)                                 (855) 662-7535
PELEUS INSURANCE CO. (ARGO)                                     (212) 643-6401
MAGMUTUAL INSURANCE CO.                                         404-842-9556
PROFESSIONAL SECURITY INSURANCE CO. (MAGMUTUAL)                 404-842-9556
OHIO BUREAU OF WORKERS' COMPENSATION                            614-621-1007
STATE OF WASHINGTON DEPT OF LABOR & INDUSTRIES                  360-902-4674
MCLAREN INSURANCE COMPANY, LTD                                  (810) 600-7984
CAPITOL INDEMNITY CORPORATION                                   608-829-7408
PLATTE RIVER INSURANCE COMPANY                                  608-829-7451
MCLAREN INSURANCE COMPANY, LTD                                  (810) 600-7984
PELEUS INSURANCE CO. (ARGO)                                     (212) 643-6401




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                      Benefits Fax Service List
Creditor Name                                                Fax
MAGMUTUAL INSURANCE CO.                                      404-842-9556
OHIO BUREAU OF WORKERS' COMPENSATION                         614-621-1007
STATE OF WASHINGTON DEPT OF LABOR & INDUSTRIES               360-902-4674




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